       Case 1:19-cv-00048-PEC Document 1 Filed 01/09/19 Page 1 of 18
                                                 Receipt number 9998-5138806



      IN THE UNITED STATES COURT OF FEDERAL CLAIMS

                                        )
ELEAZAR AVALOS                          )
                                        )
and                                     )
                                        )
JAMES DAVIS,                            )
                                        )                  19-48
                                                 Case No. _____           C
                     Plaintiffs,        )
                                        )        Collective Action
          v.                            )
                                        )
UNITED STATES OF AMERICA,               )
                                        )
                     Defendant.         )
_______________________________________ )

                              COMPLAINT

     A partial government shutdown affecting several federal agencies

providing critical services to the American public has been in effect

since December 22, 2018. Hundreds of thousands of federal employees,

including tens of thousands of National Treasury Employees Union

(NTEU) members, are “excepted employees” who are being forced to

work during the partial government shutdown without pay. The

compensation for overtime worked on December 22—the first day of the

shutdown—was not paid on time. It is, moreover, unknown when they

will be paid for that work and for work performed since that date.
       Case 1:19-cv-00048-PEC Document 1 Filed 01/09/19 Page 2 of 18




     This is a collective action lawsuit, brought by Eleazar Avalos and

James Davis, on behalf of themselves and all similarly situated

individuals. The complaint makes two central allegations. First, it

alleges that the government’s failure to timely pay overtime wages

earned on December 22, 2018, to Fair Labor Standards Act (FLSA)

nonexempt employees like Mr. Avalos and Mr. Davis is illegal. Second,

the complaint further alleges an FLSA violation based upon the

expected government failure to pay a minimum wage and overtime

wages earned for the pay period beginning December 23, 2018 and

ending on January 5, 2019. They seek payment of the owed wages, an

equal amount of liquidated damages, and other appropriate remedies.

                              JURISDICTION

     1.       This Court has jurisdiction pursuant to 28 U.S.C. §

1491(a)(1).

                                  VENUE

     2.       Venue is proper in this Court pursuant to 28 U.S.C. §

1491(a)(1).




                                      2
       Case 1:19-cv-00048-PEC Document 1 Filed 01/09/19 Page 3 of 18




                                PARTIES

     3.    Plaintiffs Avalos and Davis are employed by the United

States Department of Homeland Security, Customs and Border

Protection (CBP) as Customs and Border Protection Officers. CBP has

classified them as FLSA nonexempt, and they have been classified as

such throughout the partial government shutdown at issue.

     4.    Like many other CBP employees, Plaintiffs Avalos and Davis

are covered by both the FLSA and another federal pay statute: the

Customs Officer Pay Reform Act (COPRA), which sets their overtime

rate. Plaintiffs Avalos’s and Davis’s statutory right to the on-time

payment of overtime wages earned—wages paid at the rate COPRA

sets—is governed by the FLSA.

     5.    As Section 216(b) of the FLSA requires, Plaintiffs Avalos and

Davis have given their written consent to be party plaintiffs in this

action. Those written consents are appended to this complaint.

     6.    Defendant United States of America is an “employer” and a

“public agency” within the meaning of the Fair Labor Standards Act, 29

U.S.C. § 203.




                                    3
       Case 1:19-cv-00048-PEC Document 1 Filed 01/09/19 Page 4 of 18




                       STATEMENT OF CLAIMS

     7.    The FLSA guarantees, for employees falling within its

coverage, the on-time payment of any minimum wage and overtime

wages earned. If those wages are earned, but not paid out, on the

employee’s corresponding regularly scheduled payday, the FLSA has

been violated. The FLSA’s timely payment requirement persists during

a lapse in appropriated funds. Biggs v. Wilson, 1 F.3d 1537, 1540 (9th

Cir. 1993); Martin v. United States, 117 Fed. Cl. 611, 620, 625 (2013).

     8.    On December 22, 2018, at 12:01 a.m., a partial government

shutdown began. It remains in effect. Among several other federal

agencies, the shutdown implicates Plaintiffs Avalos’s and Davis’s

agency employer: the Department of Homeland Security.

     9.    The Antideficiency Act, 31 U.S.C. § 1342 authorizes the

executive branch to require employees to work, without pay, during a

lapse in appropriated funds, if their work relates to “the safety or

human life or the protection of property.” Employees designated to

work during a lapse in appropriated funds are deemed “excepted

employees.” Each federal agency employee, for purposes of a shutdown,

is classified as either excepted or nonexcepted.


                                     4
       Case 1:19-cv-00048-PEC Document 1 Filed 01/09/19 Page 5 of 18




     10.   Plaintiffs Avalos and Davis were designated excepted

employees for the shutdown that began on December 22.

The Past FLSA Violation

     11.   On December 22, Mr. Avalos worked two hours of overtime.

He should have been paid for that work, but was not, by either

December 31 (the date on which electronic funds transfer (EFT) wage

payments for the pay period encompassing December 22 issued) or by

January 3 (the date on which paper checks for the pay period

encompassing December 22 issued).

     12.   On December 22, Mr. Davis worked eight hours of overtime.

He should have been paid for that work, but was not, by either

December 31 (the date on which electronic funds transfer (EFT) wage

payments for the pay period encompassing December 22 issued) or by

January 3 (the date on which paper checks for the pay period

encompassing December 22 issued).

     13.   Because it is unknown when Congress will fund the agency

where Plaintiffs Avalos and Davis are employed, it is unknown when

they will be paid for the overtime work that they performed on




                                    5
        Case 1:19-cv-00048-PEC Document 1 Filed 01/09/19 Page 6 of 18




December 22. What is known, however, is that the payment is past

due.

       14.   The federal government’s failure to pay Plaintiffs Avalos and

Davis, and other FLSA nonexempt, excepted employees who performed

overtime work on December 22, on time violated the FLSA. The federal

government was on notice, including from previous litigation, that a

failure to pay FLSA nonexempt employees their overtime wages on

time, regardless whether the government is shut down, is a per se

FLSA violation. The federal government, therefore, neither acted in

good faith, nor had reasonable grounds for believing that failing to pay

FLSA nonexempt employees their overtime wages on time was

compliant with the FLSA.

       15.   Plaintiffs Avalos and Davis and similarly situated employees

are thus entitled, under the FLSA, to the payment of their overtime

wages earned on December 22 and the payment of liquidated damages

equal to that now-late payment of overtime wages.

The Anticipated FLSA Violations

       16.   Plaintiffs Avalos and Davis have continued to perform non-

overtime and overtime work since December 22.


                                     6
       Case 1:19-cv-00048-PEC Document 1 Filed 01/09/19 Page 7 of 18




     17.   Plaintiffs Avalos and Davis are scheduled to be paid wages

earned between December 23, 2018, and January 5, 2019 on either

January 14 (the date on which EFT wage payments for the pay period

are due) or by January 17 (the date on which paper checks for the pay

period are due).

     18.   John Michael Mulvaney is the President’s Acting Chief of

Staff. Mr. Mulvaney stated on January 6, 2019, that, if there is no

agreement to end the shutdown by midnight on Tuesday, January 8,

2018, “then payroll will not go out as originally planned on Friday

night.” See Hayley Miller, “Mick Mulvaney: Government Shutdown

Likely To ‘Drag On A Lot Longer,’” HuffingtonPost.com (Jan. 6, 2019).

     19.   The shutdown has continued beyond midnight on Tuesday,

January 8, which makes it substantially likely that Mr. Avalos and Mr.

Davis will not receive any wages for work that they performed from

December 23 through January 5 on their regularly scheduled payday

(which, for both plaintiffs, is January 14 because they receive their

paychecks via EFT).

     20.   Mr. Avalos’s and Mr. Davis’s failure to receive any pay for

work performed during that period will constitute two FLSA violations.


                                    7
       Case 1:19-cv-00048-PEC Document 1 Filed 01/09/19 Page 8 of 18




They will not have been timely paid a minimum wage for their regular

hours worked, violating the FLSA’s minimum wage provision. Further,

they will not have been paid any overtime wages earned during this

period, violating the FLSA’s overtime provision.

Liquidated Damages

     21.   The federal government has previously been held to be liable

for liquidated damages stemming from its failure to timely pay FLSA

wages to FLSA nonexempt employees during a government shutdown.

     22.   That liability followed a ruling in Martin v. United States,

130 Fed. Cl. 578 (2017), that the federal government failed to ascertain

its FLSA obligations in connection with the payment of FLSA

nonexempt, excepted employees during a government shutdown.

     23.   Nothing in the public domain indicates that, since the

Martin decision and prior to the instant shutdown, the government

sought to obtain such an opinion or analysis.

     24.   The FLSA overtime pay owed to Plaintiffs Avalos and Davis,

as well as the liquidated damages owed to them, may be paid from the

Judgment Fund, 31 U.S.C. § 1304, which is a permanent appropriation

for the payment of judgments and compromises. It is not subject to the


                                    8
       Case 1:19-cv-00048-PEC Document 1 Filed 01/09/19 Page 9 of 18




annual appropriations process and it is not implicated by the current

shutdown.

                COLLECTIVE ACTION ALLEGATIONS

     25.    Defendant United States of America failed to pay FLSA

nonexempt, excepted employees who worked overtime on December 22,

2018—including Plaintiffs Avalos and Davis—their earned overtime

wages on their regularly scheduled payday. These employees suffered

the same legal violation under the same factual circumstances,

attributable to Defendant United States of America, and seek the same

remedies.

     26.    Defendant United States of America is substantially unlikely

to pay FLSA nonexempt, excepted employees who worked regular time

and overtime for the pay period beginning December 23, 2018 and

ending January 5, 2019 any wages whatsoever on their regularly

scheduled payday. These employees will suffer the same legal violation

under the same factual circumstances, attributable to Defendant

United States of America, and seek the same remedies.

     27.    The minimum wage and overtime pay owed to Plaintiffs

Avalos and Davis and all other FLSA nonexempt, excepted employees


                                    9
      Case 1:19-cv-00048-PEC Document 1 Filed 01/09/19 Page 10 of 18




who worked overtime on December 22, 2018 or who worked at all

between December 23, 2018 and January 5, 2019 can be calculated

using Defendant United States of America’s payroll and employee data.

     28.   The amount of liquidated damages due to Plaintiffs Avalos

and Davis and all other FLSA nonexempt, excepted employees who

worked overtime on December 22, 2018 or who worked at all between

December 23, 2018 and January 5, 2019 can be calculated using

Defendant United States of America’s payroll and employee data.

     29.   Hundreds of thousands of employees have been excepted

from the current shutdown. At CBP alone, thousands of FLSA

nonexempt, excepted employees are believed to have worked overtime

on December 22, 2018, and not been timely paid for it. Those same

employees have continued to work during the shutdown and performed

regular and overtime work between December 23, 2018 and January 5,

2019. A collective action would be the most efficient way to resolve

their FLSA timely payment claims, which involve the same questions of

law and fact.

     30.   Defendant United States of America has the capacity to

communicate with excepted employees efficiently, through their


                                   10
       Case 1:19-cv-00048-PEC Document 1 Filed 01/09/19 Page 11 of 18




government email addresses, for purposes of providing notice of the

collective action.

                          CAUSE OF ACTION

Count One: Failure to Timely Pay Overtime Wages to
FLSA Nonexempt, Excepted Employees, in Violation of the FLSA.

      31.   Plaintiffs Avalos and Davis reassert the allegations

contained in paragraphs 1 through 31 of this complaint as though

contained herein.

      32.   Defendant United States of America failed to pay FLSA

nonexempt, excepted employees—including Plaintiffs Avalos and

Davis—overtime wages earned on December 22, 2018 on their regularly

scheduled payday. That failure to issue timely payment violated the

FLSA per se.

      33.   Defendant United States of America has been held liable for

this very type of FLSA violation in the past. Its failure to issue timely

payment to Plaintiffs Avalos and Davis and similarly situated

individuals in this shutdown constituted an FLSA violation for which

the FLSA’s presumptive penalty of liquidated damages are warranted.




                                    11
      Case 1:19-cv-00048-PEC Document 1 Filed 01/09/19 Page 12 of 18




Count Two: Expected Failure to Timely Pay A Minimum Wage to
FLSA Nonexempt, Excepted Employees, in Violation of the FLSA

     34.   Plaintiffs Avalos and Davis reassert the allegations

contained in paragraphs 1 through 34 of this complaint as though

contained herein.

     35.   Based on Mr. Mulvaney’s statements, it is substantially

likely that Plaintiffs Avalos and Davis will not receive any wages at all

for work performed from December 23, 2018 through January 5, 2019

on their regularly scheduled payday.

     36.   Defendant United States of America will violate the FLSA

per se by failing to pay FLSA nonexempt, excepted employees, including

Plaintiffs Avalos and Davis, any minimum wage for work performed

from December 23, 2018 through January 5, 2019 on their regularly

scheduled payday.

     37.   Defendant United States of America will violate the FLSA

per se by failing to pay FLSA nonexempt, excepted employees, including

Plaintiffs Avalos and Davis, overtime wages earned from December 23,

2018 through January 5, 2019 on their regularly scheduled payday.

That failure to issue timely payment will violate the FLSA per se.



                                   12
         Case 1:19-cv-00048-PEC Document 1 Filed 01/09/19 Page 13 of 18




     38.     Defendant United States of America’s FLSA violations for

failing to timely pay a minimum wage and overtime wages earned is

continuing in nature. Each regularly scheduled pay day that passes

without the payment of a minimum wage to FLSA nonexempt, excepted

employees will constitute an additional FLSA violation. Each regularly

scheduled pay day that passes without the payment of earned overtime

wages to FLSA nonexempt, excepted employees will constitute an

additional FLSA violation.

                          REQUEST FOR RELIEF
     WHEREFORE, based on the foregoing, Plaintiffs Avalos and

Davis request, on their behalf and on behalf of those similarly situated,

judgment against Defendant United States of America:

     A.      Certifying this FLSA collective action.

     B.      Requiring Defendant United States of America to provide

electronic notice to all excepted employees of the collective action via

their government email addresses using language approved by the

Court.

     C.      Ordering Defendant United States of America to make

members of the collective action whole by paying them any minimum


                                      13
      Case 1:19-cv-00048-PEC Document 1 Filed 01/09/19 Page 14 of 18




wage owed and all overtime wages earned since December 22, 2018, but

not timely paid on their regularly scheduled payday.

     D.    Ordering Defendant United States of America to pay

members of the collective action liquidated damages in an amount equal

to any minimum wage and overtime wages earned since December 22,

2018, which were not timely paid.

     E.    Awarding Plaintiffs Avalos and Davis and other members of

the collective action reasonable attorneys’ fees and costs incurred in this

action.

     F.    Ordering such further relief as the Court may deem just and

appropriate.




                                    14
      Case 1:19-cv-00048-PEC Document 1 Filed 01/09/19 Page 15 of 18




                      Respectfully submitted,
                      /s Gregory O’Duden, by /s Paras N. Shah
                      _______________________________________
                      GREGORY O’DUDEN
                      General Counsel
                      NATIONAL TREASURY EMPLOYEES UNION
                      1750 H Street, N.W.
                      Washington, D.C. 20006
                      Tel: (202) 572-5500
                      Fax: (202) 572-5645
                      greg.oduden@nteu.org

                      Counsel of Record for Plaintiffs Avalos and Davis

                      Larry J. Adkins
                      Paras N. Shah
                      NATIONAL TREASURY EMPLOYEES UNION
                      1750 H Street, N.W.
                      Washington, D.C. 20006
                      Tel: (202) 572-5500
                      Fax: (202) 572-5645
                      larry.adkins@nteu.org
                      paras.shah@nteu.org

                      Of Counsel for Plaintiffs Avalos and Davis

                      Leon Dayan
                      BREDHOFF & KAISER PLLC
                      805 15th Street N.W.
                      Suite 1000
                      Washington, D.C. 20005
                      Tel: (202) 842-2600
                      Fax: (202) 842-1888
                      ldayan@bredhoff.com

January 9, 2019       Of Counsel for Plaintiffs Avalos and Davis


                                   15
      Case 1:19-cv-00048-PEC Document 1 Filed 01/09/19 Page 16 of 18




                     CERTIFICATE OF SERVICE

     I certify that, on January 9, 2019, I electronically filed the

foregoing complaint, with attachments, with the Clerk of the Court for

the United States Court of Federal Claims through the CM/ECF

system. I further certify that, pursuant to Rule 4 of the United States

Court of Federal Claims, the Clerk of the Court will serve the complaint

and its attachments upon the United States.

                            /s/ Paras N. Shah
                            ____________________________
                            PARAS N. SHAH

                            NATIONAL TREASURY EMPLOYEES
                            UNION
                            1750 H Street, N.W.
                            Washington, D.C. 20006
                            Tel: (202) 572-5500
                            Fax: (202) 572-5645
                            paras.shah@nteu.org




                                    16
        Case 1:19-cv-00048-PEC Document 1 Filed 01/09/19 Page 17 of 18




                    Consent to Become a Party Plaintiff


 By my signature below, I represent to the court that I have worked for
the United States government a nd that during the partial government
shu tdown that began on December 22, 2018, I was deemed an
essential/excepted employee a nd performed work for which I was not
timely and/or accurately paid. I authorize the filing and prosecution of
a n action in n1y name and on my behalf, and on behalf of others
similarly situated to recover unpaid wages, liquidated damages,
interest, and all other relief provided under the Fair Labor Standards
Act and any other applicable laws or regulations .
        .
       .- ?- ;2   ??/   s-
Date

                                               Home address:
                                               8660 FM 1421
                                               Brownesville, TX 78520

                                               Employer:
                                               United States Customs and
                                               Border Protection

                                               Job Title:
                                               Customs and Border
                                               Protection Officer
          Case 1:19-cv-00048-PEC Document 1 Filed 01/09/19 Page 18 of 18




                      Consent to Become a Party Plaintiff


 By my signature below, I represent to the court that I have worked for
the United States government and that during the partial government
shutdown that began on December 22, 2018, I was deemed an
essential/excepted employee and performed work for which I was not
timely and/or accurately paid. I authorize the filing and prosecution of
an action in my name and on my behalf, and on behalf of others
similarly situated to recover unpaid wages, liquidated damages,
interest, and all other relief provided under the Fair Labor Standards
Act an any other applicable laws or regulations.



-D ate_          _,_____l                        James Davis

                                                 Home address:
                                                 p O 'l, o X s"1 -=t- __   ~ ':'.l
                                                                      ':]<:.-<:-

                                                 Lo- ~f"yor Tt<          TO~,~
                                                 Employex_.:
                                                 United States Customs and
                                                 Border Protection

                                                 Job Title:
                                                 Customs and Border
                                                 Protection Officer
